                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             Case No: 5:22-CV-470-D

WATERFORD I AT CARY PARK               )
CONDOMINIUM HOMEOWNERS                 )
ASSOCIATION, INC.,                     )
                                       )                 JOINT NOTICE OF SETTLEMENT
                  Plaintiff,           )
                                       )
vs.                                    )
                                       )
NATIONWIDE PROPERTY AND                )
CASUALTY INSURANCE COMPANY,            )
                                       )
                  Defendant.           )
______________________________________ )

       Waterford I at Cary Park Condominium Homeowners Association, Inc. (“Plaintiff”) and

Nationwide Property and Casualty Insurance Company (“Nationwide”) (collectively, the

“Parties”), by and through their undersigned counsel, hereby file this Joint Notice of Settlement

and advise the Court that the Parties to the above-captioned matter reached a settlement agreement.

The Parties will file the appropriate stipulation for dismissal on or before May 22, 2024.

Dated: April 22, 2024.                               Respectfully submitted,

MERLIN LAW GROUP, PLLC                              WOMBLE BOND DICKINSON (US) LLP

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